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To Whoever It May Concern,

I’ve known Ryan Nichols for a few years and met him at a business seminar.

He’s hired me to work on marketing projects for him in the past.

Ryan has always shown himself to be a man of integrity, honor… and as a person who cares for
the safety and well-being of others.

He’s shown that through his heroic efforts during various natural disasters. No one asked him
for help. He saw that people needed it and stepped up to help them.

He’s someone that would take the shirt off his back for you if you needed it.

Based on my professional experience working with Ryan Nichols, I believe he’s a man of great
character.

Best Regards,

Carlos Redlich
